                     Case:
                      Case24-50442     Document:
                           1:21-cv-00565-RP      81-2 569
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                             United States Court of Appeals
A True Copy
Certified order issued Oct 11, 2024 for the Fifth Circuit                           United States Court of Appeals
                                                                                             Fifth Circuit
                                                   ___________
                                                                                           FILED
Clerk, U.S. Court of Appeals, Fifth Circuit                                         October 11, 2024
                                                    No. 24-50442
                                                   ___________                        Lyle W. Cayce
                                                                                           Clerk
                    Eric Cervini; Wendy Davis; David Gins; Timothy
                    Holloway,

                                                                           Plaintiffs—Appellees,

                    United States of America,

                                                                           Intervenor—Appellee,

                                                        versus

                    Dolores Park,

                                                              Defendant—Appellant.
                                     ______________________________

                                     Appeal from the United States District Court
                                          for the Western District of Texas
                                               USDC No. 1:21-CV-565
                                     ______________________________

                                              UNPUBLISHED ORDER

                    Before Southwick, Willett, and Oldham, Circuit Judges.
                    Per Curiam:
                           IT IS ORDERED that Appellant’s unopposed motion to dismiss
                    the appeal and have each party bear its own costs is GRANTED.
      Case:
       Case24-50442     Document:
            1:21-cv-00565-RP      81-1 569
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                                                                   2 of 2




                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             October 11, 2024


Mr. Philip Devlin
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

      No. 24-50442     Cervini v. Park
                       USDC No. 1:21-CV-565


Dear Mr. Devlin,
Enclosed is a copy of the judgment issued as the mandate.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Casey A. Sullivan, Deputy Clerk
                                   504-310-7642
cc w/encl:
     Mr. Maxwell A. Baldi
     Ms. Sarah Xiyi Chen
     Mr. Samuel Hall
     Mr. Cerin Lindgrensavage
     Mr. James C. Luh
     Ms. Erin Elizabeth Mersino
     Mr. Aaron E Nathan
     Mr. Gerard J. Sinzdak
     Mr. Richard Thompson
